          Case 3:12-cv-04854-LB Document 1082 Filed 06/18/21 Page 1 of 3



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18                                UNITED STATES DISTRICT COURT

19                              NORTHERN DISTRICT OF CALIFORNIA

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21   DJENEBA SIDIBE, JERRY JANKOWSKI, SUSAN Case No. 3:12-cv-4854-LB
     HANSEN, DAVID HERMAN, OPTIMUM
22   GRAPHICS, INC., and JOHNSON POOL & SPA, on NOTICE OF INTENT TO FILE
     Behalf of Themselves and All Others Similarly UNDER SEAL PLAINTIFFS’
23   Situated,                                     OPPOSITION TO SUTTER’S
                                                   MOTION TO EXCLUDE TESTIMONY
24                               Plaintiffs,       OF DR. TASNEEM CHIPTY
25          vs.
26   SUTTER HEALTH,
27                                Defendant.
28


     NOTICE OF INTENT TO FILE DOCUMENTS UNDER SEAL, Case No. 3:12-cv-4854-LB
          Case 3:12-cv-04854-LB Document 1082 Filed 06/18/21 Page 2 of 3




1           Pursuant to the Further Joint Stipulated Amended Protective Order (“Protective Order”),

2     ECF No. 242 and the Order Governing Sealing Protocol, ECF No. 308, Plaintiffs hereby submit

3     this Notice of Intent to file under seal Plaintiffs’ Opposition to Sutter’s Motion to Exclude

4     Testimony of Dr. Tasneem Chipty, and the Declaration of Matthew L. Cantor and Accompanying

5     Exhibits in Opposition to Sutter’s Motion to Exclude Testimony of Dr. Tasneem Chipty

6     (collectively, “Opposition”). This pleading includes information that have been designated by

7     Plaintiffs, Defendant Sutter Health, and third parties as “Protected Material” under the Protective

8     Order. Plaintiffs will today provide counsel for Defendant a courtesy copy of the Opposition
9     designated as “Filed Under Seal Pursuant to Protective Order.” In addition, Plaintiffs will by June
10    21, 2021, provide to counsel for Defendant a highlighted version of proposed redactions to the
11    Opposition pursuant to Paragraph 7.6 of the Protective Order and the sealing schedule reflected in
12    ECF No. 1037.
13    DATED: June 18, 2021
14                                                 Respectfully submitted,

15                                                 /s/ Suneel Jain
                                                   Suneel Jain
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